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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                            :
IN THE MATTER OF:                           :       No. 22-cv-0586
      KENNETH J. TAGGART                    :
                                            :
                                            :

                                           ORDER

       AND NOW, this 15th day of April, 2022, upon Consideration of the pro se Plaintiff’s

Request to Consolidate and for Enlargement of Time (ECF No. 8), it is hereby ORDERED that:

1.     Plaintiff’s Request for an Extension of Time to File an Appeal Brief shall be GRANTED
       as follows—Plaintiff shall have until Friday, May 13, 2022, to file a Brief on Appeal; and

2.     Plaintiff’s Request to Consolidate is DENIED without prejudice to be renewed after the
       briefing is complete.

       IT IS SO ORDERED.


                                                    BY THE COURT:

                                                      /s/ John Milton Younge
                                                    Judge John Milton Younge
